08-13555-mg   Doc 27622-1   Filed 04/27/12 Entered 04/27/12 10:35:13   Exhibits
                                   Pg 1 of 2




                            EXHIBIT 1
                            08-13555-mg         Doc 27622-1
                                                    Filed 04/27/12 Entered 04/27/12 10:35:13 Exhibits
                                                           Pg 2 of 2
                              IN RE: LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                       OMNIBUS OBJECTION 267: EXHIBIT 1- NO LIABILITY CLAIMS

                                            CASE                                        FILED                TOTAL CLAIM        REASON FOR PROPOSED
                  NAME                     NUMBER       DEBTOR NAME                     DATE       CLAIM #     DOLLARS          DISALLOWANCE
1   PUTERMAN, SAMUEL                        08-13555    Lehman Brothers Holdings      09/22/2009    30674      $70,000,000.00   No Liability Claim
    C/O DAVID M. BUCKNER, ESQ.               (JMP)      Inc.
    KOZYAK TROPIN &
    THROCKMORTON, P.A.
    2525 PONCE DE LEON, 9TH FLOOR
    MIAMI, FL 33134
2   REYNO, FREDDIE & WOLFKIND-              08-13555    Lehman Brothers Holdings      04/20/2009    4520        $1,540,000.00   No Liability Claim
    REYNO, JUNE F.                           (JMP)      Inc.
    10170 PRESLET STREET
    SAN DIEGO, CA 92126
3   RIVERSIDE HOLDINGS, LLP                 08-13555    Lehman Brothers Holdings      09/21/2009    25546      $6,945,592.00*   No Liability Claim
    192 LEXINGTON AVENUE                     (JMP)      Inc.
    NEW YORK, NY 10016
4   WEISS, ROGER J AND SUZANNE, AS          08-13555    Lehman Brothers Holdings      10/01/2009    35917       $400,000.00*    No Liability Claim
    CO-EXECUTORS OF THE ESTATE OF            (JMP)      Inc.
    STEPHEN
    H WEISS
    ROGER J WEISS
    16 THE CROSSING AT BLIND BROOK
    PURCHASE, NY 10577
                                                                                                   TOTAL       $78,885,592.00




                     * - Indicates claim contains unliquidated and/or undetermined amounts                                                     Page 1 of 1
